Case 8:20-cv-00623-AB-MAA Document 86 Filed 07/28/21 Page 1 of 9 Page ID #:1186
Case 8:20-cv-00623-AB-MAA Document 86 Filed 07/28/21 Page 2 of 9 Page ID #:1187




 Processing Agreement (“MPA”) and the Additional Services Agreement (“ASA”)
 after seeing advertisements that indicated no holds on money, unlimited
 processing, and processing without being shut down or scaling too fast. (Id. at ⁋⁋
 27, 35, 36.) Plaintiff also states that Defendant Maaranu promised Plaintiff
 “unlimited scaling,” and Defendant Ponder promised Plaintiff he would “get your
 unlimited volume merchant account setup for your business.” (Id. at ⁋⁋ 31, 32.)
 Defendant Ponder emailed Plaintiff on February 12, 2020 to state that E-
 Commerce had “two accounts approved for unlimited scaling!” (Id. at ⁋ 33.)

        Plaintiff signed the MPA and ASA that same date—February 12, 2020—and
 the relevant provisions are as follows:

          Under the MPA, Electronic Commerce has the right to:

     • “audit all Card transactions and deposits” and “withhold amounts from
       [EMG] if [Ecommerce] discover[ed] inaccuracies” (TAC, Exh. F, (“MPA”),
       MPA § 4(E));
     • charge EMG’s account without notice or require payment from plaintiff for
       any transaction including those “where the Cardholder disputes the sale,
       quality, or delivery of merchandise or performance or quality of services;
       (MPA § 5(A)(v));
     • delay or withhold settlement payments or terminate the MPA based on
       changes in EMG’s monthly sales volume, average ticket size, or other
       factors that deviated from the information on Plaintiff’s Application (MPA §
       5L);
     • “disallow, discontinue, suspend, or change [EMG’s] use of Portal Services at
       any time without notice” (MPA § 10(C));
     • the MPA could be terminated in the event of “default” which includes the
       following: reasonable belief that “fraud may be occurring”; monthly volume
       that exceeds “120% of the average annual volume indicated on the Merchant
       Application”; “returns greater than three percent”; and if Electronic
       Commerce “determine[d] that [EMG’s] Card transactions or the
       circumstances surrounding [its] card transactions ha[d] become irregular or
       increase[d]” Electronic Commerce’s “exposure to chargebacks, reputational,
       or other security risks” (MPA at § 7(A)).

       According to the MPA, Electronic Commerce had “no liability to [Plaintiff]
 for any direct or indirect losses” stemming from Electronic Commerce’s



  CV-90 (12/02)              CIVIL MINUTES – GENERAL             Initials of Deputy Clerk CB

                                             2
Case 8:20-cv-00623-AB-MAA Document 86 Filed 07/28/21 Page 3 of 9 Page ID #:1188




 “suspension of funds disbursement or failure to pay transactions in connection with
 an Event of Default.” (MPA at § 7(A).)

       The ASA allows for (i) Chargeback Protection, a service that authenticates
 transactions; (ii) Chargeback Evasion, which alerts merchants that a consumer is
 disputing a charge; and (iii) Chargeback Representment, which gathers information
 to ensure compliance with card network rules and regulations. (TAC, Ex. G at 24.)

        The ASA bound Plaintiff to the “terms as set forth in [the] original Merchant
 Application,” which incorporated the MPA. (See id.) Finally, a Reserve
 Acknowledgement and Acceptance provided Electronic Commerce with authority
 to hold $75,000 of plaintiff’s funds in reserve. (TAC, Ex. H at 26.) This was “in
 addition to the [MPA]” and “nothing herein in any way limit[ed] or reduce[d] any
 of the rights set forth in the [MPA].” (Id.)

       Plaintiff subsequently brought suit after E-Commerce froze its funds and
 locked Plaintiff out of the E-Commerce portal thus preventing it from issuing
 refunds to customers. (TAC ⁋⁋ 51-55.)

     II.          LEGAL STANDARDS

     A. Motion to Dismiss

        Federal Rule of Civil Procedure (“Rule”) 8 requires a plaintiff to present a
 “short and plain statement of the claim showing that the pleader is entitled to
 relief.” Fed. R. Civ. P. 8(a)(2). Under Rule 12(b)(6), a defendant may move to
 dismiss a pleading for “failure to state a claim upon which relief can be granted.”
 Fed. R. Civ. P. 12(b)(6).

        To defeat a Rule 12(b)(6) motion to dismiss, the complaint must provide
 enough factual detail to “give the defendant fair notice of what the . . . claim is and
 the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
 (2007). The complaint must also be “plausible on its face,” that is, it “must
 contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
 plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
 Twombly, 550 U.S. at 570). A plaintiff’s “factual allegations must be enough to
 raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555.
 “The plausibility standard is not akin to a ‘probability requirement,’ but it asks for
 more than a sheer possibility that a defendant has acted unlawfully.” Id. Labels,


  CV-90 (12/02)              CIVIL MINUTES – GENERAL                  Initials of Deputy Clerk CB

                                             3
Case 8:20-cv-00623-AB-MAA Document 86 Filed 07/28/21 Page 4 of 9 Page ID #:1189




 conclusions, and “a formulaic recitation of the elements of a cause of action will
 not do.” Twombly, 550 U.S. at 555.

       B. Rule 11 Sanctions

        Rule 11 outlines procedural and substantive requirements to guide whether a
 court should sanction an attorney. “[T]he central purpose of Rule 11 is to deter
 baseless filings in district court and . . . streamline the administration and
 procedure of the federal courts.” Cooter & Gell v. Hartmarx Corp., 496 U.S. 384,
 393, 110 S. Ct. 2447, 110 L.Ed.2d 359 (1990).

        Under Rule 11, the party moving for sanctions must serve the motion on the
 opposing party pursuant to Rule 5 no less than twenty-one days before filing the
 motion with the court. Fed. R. Civ. P. 11(c)(2). This strictly-enforced safe harbor
 period allows the opposing party to withdraw or appropriately correct “the
 challenged paper, claim, defense, contention, or denial” without penalty. Fed. R.
 Civ. P. 11(c)(2); Holgate v. Baldwin, 425 F.3d 671, 678 (9th Cir. 2005). If the
 opposing party fails to remediate the concern, the moving party may file the
 motion with the court “describ[ing] the specific conduct that allegedly
 violates Rule 11(b).” Fed. R. Civ. P. 11(c)(2).

        Provided these procedural requirements are met, the Court may sanction an
 attorney under Rule 11 for filing a pleading or other paper that is “frivolous,
 legally unreasonable, or without factual foundation, or is brought for an improper
 purpose.” Estate of Blue v. Cty. of Los Angeles, 120 F.3d 982, 985 (9th Cir.
 1997); Fed. R. Civ. P. 11(b)(1–4). Nonetheless, “[i]f, judged by an objective
 standard, a reasonable basis for the position exists in both law and in fact at the
 time that the position is adopted, then sanctions should not be imposed.” Golden
 Eagle Distrib. Corp. v. Burroughs Corp., 801 F.2d 1531, 1538 (9th Cir. 1986).

       Imposing sanctions under Rule 11 “is an extraordinary remedy, one to be
 exercised with extreme caution.” Operating Eng’r Pension Tr. v. A-C Co., 859
 F.2d 1336, 1345 (9th Cir. 1988). As such, courts have “significant discretion”
 when determining whether to award sanctions. See Fed. R. Civ. P. 11(b), Advisory
 Committee Notes (1993 Amendment).

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  CV-90 (12/02)               CIVIL MINUTES – GENERAL              Initials of Deputy Clerk CB

                                              4
Case 8:20-cv-00623-AB-MAA Document 86 Filed 07/28/21 Page 5 of 9 Page ID #:1190




     III.         MOTIONS TO DISMISS

     A. Plaintiff’s TAC Fails to State a Breach of Contract Claim.

        To claim breach of a written, integrated contract, a plaintiff must identify
 “the specific provisions” imposing the obligation the defendant allegedly breached.
 In re Anthem Inc. Data Breach Litig., 162 F. Supp. 3d 953, 978 (N.D. Cal. 2016)
 (quoting Young v. Facebook, Inc., 790 F. Supp. 2d 1110, 1117 (N.D. Cal. 2011));
 see also Frances T. v. Vill. Green Owners Ass’n, 42 Cal. 3d 490, 512–13 (1986).

        Plaintiff’s TAC states that “implied in the agreement” were promises to not
 interfere with Plaintiff’s business and that Plaintiff would be allowed to issue
 refunds to customers. (TAC ⁋⁋ 59, 62.) Plaintiff also alleges that a breach
 occurred when Defendant denied Plaintiff “access to the authorize.net portal and
 its funds.” (Id. ⁋ 63.) Plaintiff does not cite any provision of the MPA or other
 documents that amounted to a breach but rather relies on purported implicit duties.

        As this Court previously stated in dismissing Plaintiff’s claims, implicit
 duties are insufficient to state a breach of contract claim. (Order at 6, citing In re
 Anthem, Inc. Data Breach Litig.,162 F. Supp. 3d at 982–83 (rejecting breach of
 contract claim based on implied or implicit duties where plaintiff failed to identify
 contractual provisions breached or allege any facts showing any “implied contracts
 existed beyond vague, conclusory allegations” or “elaborate upon the nature and
 scope” of any such implied contract).)

        Plaintiff has failed to provide any factual bases that would undermine the
 crux of this contract dispute—all actions allegedly taken by Defendants were
 expressly allowed by the MPA, including terminating and suspending services due
 to inaccuracies, changes in sales volume, reasonable belief of fraud, and
 circumstances that seemed “irregular.” (See Order at 7, citing MPA provisions in
 detail.) Plaintiff has again failed to state a claim for breach of contract and the
 Court GRANTS Defendants’ Motions to Dismiss Plaintiff’s First Cause of Action.

     B. Plaintiff’s Claim for Breach of the Implied Covenant of Good Faith and
        Fair Dealing Fails.

       “Every contract imposes upon each party a duty of good faith and fair
 dealing in its performance and its enforcement.” Carma Devs. (Cal.), Inc. v.
 Marathon Dev. California, Inc., 2 Cal. 4th 342, 371 (1992) (citing Restatement
 (Second) Contracts § 205)). “The [California] Supreme Court has clarified,

  CV-90 (12/02)              CIVIL MINUTES – GENERAL                Initials of Deputy Clerk CB

                                             5
Case 8:20-cv-00623-AB-MAA Document 86 Filed 07/28/21 Page 6 of 9 Page ID #:1191




 however, that an implied covenant of good faith and fair dealing cannot contradict
 the express terms of a contract.” Storek & Storek, Inc. v. Citicorp Real Estate, Inc.,
 100 Cal. App. 4th 44, 55 (2002) (citing Carma, 2 Cal. 4th at 374). Instead, the
 covenant of good faith and fair dealing is implied in every contract and prevents
 one party from “unfairly frustrating the other party’s right to receive the
 benefits” of the contract. Guz v. Bechtel Nat'l Inc., 24 Cal. 4th 317, 349 (Cal.
 2000).

        The TAC alleges that Defendants acted in bad faith by refusing to allow
 Plaintiff to issue refunds and conduct business. (TAC ⁋⁋ 70-71.) However, as
 discussed above and in its previous Order, the Court has found that seizing funds
 and the other actions alleged, including freezing the account and blocking access,
 is expressly allowed under the MPA. As such, Defendants actions neither
 frustrated Plaintiff’s right to receive benefits under the contract as they are
 permitted under the contract and any implied duties here directly contradict the
 express terms of the contract. No claim for implied covenant of good faith and fair
 dealing exists and the Court GRANTS Defendants’ Motions to Dismiss the
 Second Cause of Action.

     C. Plaintiff’s Intentional and Negligent Fraudulent Inducement Claims
        Fail.

        As the Court has previously noted, the economic loss rule bars fraud and
 negligent misrepresentation claims that are based entirely on an alleged contract
 unless a plaintiff can “identify an independent duty that was violated.” UMG
 Recordings, 117 F. Supp. 3d at 1103–04; see also Erlich v. Menezes, 21 Cal. 4th
 543, 554 (1999) (“[A] breach of contract is tortious only when some independent
 duty arising from tort law is violated.” (internal quotes omitted)). In fact,
 California does not recognize a claim for “negligent misrepresentation” based on a
 false promise. Color Match Pool Fittings, Inc. v. Aquastar Pool Prods., Inc., No.
 CV 06-781-GW(PLAx), 2007 WL 5193737, at *4 (C.D. Cal. Aug. 10, 2007); see
 also Tarmann v. State Farm Mut. Auto. Ins. Co. 2 Cal. App. 4th 153, 159 (1991)
 (“[W]e decline to establish a new type of actionable deceit: the negligent false
 promise.”).

        To survive a motion to dismiss, Plaintiff must plausibly allege with
 particularity the factual basis for these fraud-based claims. Here, Plaintiff alleges
 that Defendant “knew” that allowing Plaintiff unlimited scaling and volume would
 “trigger warnings from Defendants’ risk department” and “Defendants would
 freeze all of Plaintiff’s funds and thereby prevent Plaintiff from refunding any

  CV-90 (12/02)             CIVIL MINUTES – GENERAL                 Initials of Deputy Clerk CB

                                            6
Case 8:20-cv-00623-AB-MAA Document 86 Filed 07/28/21 Page 7 of 9 Page ID #:1192




 customers.” (TAC ⁋⁋ 77-78.) First, these claims are wholly rooted in contract-
 based liability and Plaintiff has provided no separate basis for liability under these
 theories—the economic loss rule bars these claims.

        Second, Plaintiff asks the Court to ignore the fact that—even accepting all
 allegations as true—the MPA and ASA unequivocally place limits on scaling,
 volume, and any other significant deviations from those represented in the
 application. Plaintiff signed the MPA and ASA which, as the Court has noted on
 multiple occasions, allowed Defendants to do exactly what they did here.

        Finally, Plaintiff has failed to plead either claim with particularity as is
 required by Rule 9(b). Plaintiff conclusorily alleges that at the time Defendants
 made any promises or representations about scaling and volume, they knew the
 representations were false. (TAC ⁋⁋ 74, 76, 84, 85.) This is insufficient to state a
 claim under Rule 9(b). See Lazar v. Superior Court, 12 Cal. 4th 631, 638-39
 (1996) (holding that plaintiff must allege knowledge of falsity at the time the
 statements were made to state misrepresentation claims). Here, Plaintiff presumes
 Defendants’ lack of veracity by retroactively implying motive to legally
 permissible actions. Plaintiff does not allege with particularity that Defendants’
 knowingly, recklessly, negligently, or otherwise made false statements to induce
 Plaintiff’s reliance. The falsehood requirement must be based upon plausible
 allegations—not mere hindsight. The Court GRANTS Defendants’ Motions to
 Dismiss the Third and Fourth Causes of Action.

     D. Plaintiff’s Accounting and Constructive Trust Claims Likewise Fail.

        Plaintiff’s claim for accounting is still based upon alleged misconduct that
 was wholly permitted under the express terms of the MPA and is derivative of the
 other failed claims, it too must fail. Robinson v. Nationstar Mortg., No. CV 14-
 8282 PSG (ASX), 2015 WL 13651766, at *5 (C.D. Cal. Apr. 15, 2015)
 (accounting claim dismissed because it was derivative of other dismissed claims);
 see also Union Bank v. Superior Court, 31 Cal. App. 4th 573, 593 (1995) (“no
 right to an accounting” where defendant “engaged in no misconduct”).
 Accordingly, the Court GRANTS Defendants’ Motions to Dismiss this cause of
 action.

        Finally, because imposition of a constructive trust is an equitable remedy
 and not a claim for relief, the Court GRANTS Defendants’ Motions to Dismiss
 this cause of action. See Malfatti v. Mortg. Elec. Registrations Sys, Inc., No. CV
 11-03142 WHA, 2011 WL 5975055, at *3 (N.D. Cal. Nov. 29, 2011) (“As a

  CV-90 (12/02)              CIVIL MINUTES – GENERAL                 Initials of Deputy Clerk CB

                                             7
Case 8:20-cv-00623-AB-MAA Document 86 Filed 07/28/21 Page 8 of 9 Page ID #:1193




 constructive trust is not a substantive devise but merely a remedy . . . . ”) Even if
 this claim could be construed as a cause of action, it would fail because the
 underlying claims upon which it rests have likewise failed.

     E. Leave to Amend

        Federal Rule of Civil Procedure 15 provides that leave to amend “shall be
 freely given when justice so requires.” Fed. R. Civ. P. 15(a). The Ninth Circuit
 holds “‘[t]his policy is to be applied with extreme liberality.’” Eminence Capital,
 L.L.C. v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003) (quoting Owens v.
 Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001)). However,
 leave to amend is not automatic. If a Rule 12(b)(6) motion is granted, a “district
 court should grant leave to amend even if no request to amend the pleading was
 made, unless it determines that the pleading could not possibly be cured by the
 allegation of other facts.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en
 banc) (internal quotation marks and citations omitted).

        Plaintiff has failed to provide any legally viable bases despite this being its
 fourth complaint. Additionally, Plaintiff seemingly disregarded the Court’s clear
 guidance that any subsequent amendments could not be premised upon actions
 Defendants took that were expressly permitted by the MPA or ASA. See Order at
 13. The Court DENIES additional leave to amend.

     IV.          MOTION FOR SANCTIONS

        Defendant CBCal brings its Motion for Sanctions based upon Plaintiff’s
 reassertion of theories that the Court previously dismissed. (Mot. at 1-2.)
 Specifically, CBCal argues that in maintaining its position on implied duties,
 Plaintiff blatantly ignored the Court’s Order and reasserted frivolous claims. (Id. at
 5-6.) While the Court agrees that Plaintiff tows the line when it comes to
 reasserting claims on legally insufficient bases, the Court also notes that Plaintiff
 reasserts a seemingly new theory of liability in the TAC—namely that Defendants
 made promises via advertising and email to Plaintiff that induced Plaintiff into
 signing the MPA and ASA. (See TAC at ⁋⁋ 27-40.)

         The Court, after hearing oral arguments, granted leave to amend in its
 previous Order so that Plaintiff could provide the details regarding this theory of
 liability. (See Order at 13.) The mere fact that Defendant CBCal then had to file a
 subsequent motion to dismiss—which largely reiterates the same arguments as its
 previous motion—is insufficient to justify sanctions.

  CV-90 (12/02)              CIVIL MINUTES – GENERAL                 Initials of Deputy Clerk CB

                                             8
Case 8:20-cv-00623-AB-MAA Document 86 Filed 07/28/21 Page 9 of 9 Page ID #:1194




       Further, while CBCal’s Motion states it met and conferred with Plaintiff
 pursuant to Local Rule 7-3, this is insufficient to show compliance with Rule 11’s
 mandate that the moving party serve the motion on the opposing party pursuant to
 Rule 5 no less than twenty-one (21) days before filing the motion with the court.
 Fed. R. Civ. P. 11(c)(2). Here, CBCal states that it met and conferred with Plaintiff
 on April 26, 2021, but then filed the Motion on May 13, 2021—less than twenty-
 one (21) days later—and without reference to whether Plaintiff was provided a
 copy of the Motion on April 26, 2021. (Dkt. No. 65 at 2.)

        Nonetheless, the Court finds that because sanctioning a party “is an
 extraordinary remedy, one to be exercised with extreme caution,” it will exercise
 its discretion and DENIES CBCal’s Motion for Sanctions. Operating Eng’r
 Pension Tr. v. A-C Co., 859 F.2d 1336, 1345 (9th Cir. 1988).

     V.           CONCLUSION

       For the reasons stated above, the Court GRANTS Defendants’ Motions to
 Dismiss and DENIES Defendant CBCal’s Motion for Sanctions. This case is
 ordered closed.

          IT IS SO ORDERED.




  CV-90 (12/02)                CIVIL MINUTES – GENERAL             Initials of Deputy Clerk CB

                                               9
